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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTEN DIVISION


KEI & CHRIS LLC,                                  Case No. 24-cv-12680

               Plaintiff,                         MOTION TO SEAL

v.

THE PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

               Defendants.



                            PLAINTIFF’S MOTION TO FILE SEAL

       Pursuant to Local Civil Rule 5 and 26.2, Plaintiff, by counsel, hereby moves for leave to

file a redacted version of the following documents and/or temporarily file the following documents

under seal: (1) the redacted portions in the Memorandum in support of Ex Parte Motion for Entry

of a Temporary Restraining Order; (2) the redacted portions in Declaration of Chun Kei Tang; and

(3) the Exhibits of the Declaration of Chun Kei Tang.

       Plaintiff relies on its Memorandum in Support of Motion to Seal filed on December 19,

2024 [Dkt No. 5] to support this motion.



DATED: December 24, 2024

                                                    Respectfully submitted
                                                    By: /s/ Huicheng Zhou
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